Case 2:11-cr-20752-SFC-RSW ECF No. 323, PageID.1581 Filed 03/06/13 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION


United States,

                 Plaintiff,

v.                                                            Case No. 11-cr-20752


D-1, Orlando Gordon, et al.,                                  Sean F. Cox
                                                              United States District Court Judge


            Defendants.
___________________________________/

                            AMENDED ORDER
            DENYING DEFENDANT ORLANDO GORDON’S MOTION FOR
                    RECONSIDERATION [DOCKET NO. 304]

       The matter is before the Court on Defendant Orlando Gordon’s Motion for Reconsideration

of Opinion and Order Issued February 5, 2013, Denying Orlando Gordon’s Motion to Suppress

Physical Evidence Purposely Seized on February 11, 2008, Allegedly Pursuant to a Search Warrant

Which Was Executed At 31020 McKinney Drive, Franklin, MI. (Docket No. 304.)

       Motions in criminal cases are governed by Local Rule 7.1 of the Local Rules of the Eastern

District of Michigan governing motions in civil cases. See Eastern District of Michigan, Local

Criminal Rule 12.1(a). Local Rule 7.1 states:

       (3) Grounds. Generally, and without restricting the court’s discretion, the court will
       not grant motions for rehearing or reconsideration that merely present the same
       issues ruled upon by the court, either expressly or by reasonable implication. The
       movant must not only demonstrate a palpable defect by which the court and the
       parties and other persons entitled to be heard on the motion have been misled but
       also show that correcting the defect will result in a different disposition of the case.


                                                  1
Case 2:11-cr-20752-SFC-RSW ECF No. 323, PageID.1582 Filed 03/06/13 Page 2 of 3




See Eastern District of Michigan, Local Criminal Rule 7.1(h)(3).

       A motion for reconsideration does not afford a movant an opportunity to present the same

issues that have been already ruled on by the court, either expressly or by reasonable implication.

A review of Gordon’s motion for reconsideration shows that, for the most part, his motion presents

the same issues ruled upon by the Court.

       His motion does, however, raise one issue not addressed previously. Gordon asserts that this

Court erred in considering facts that were not actually contained in the search warrant affidavit.

[Motion for Reconsid. at 8]. Specifically, Gordon notes that the affidavit does not state the first

name of the person referenced as “Gordon” in Paragraph 12 . Upon closer review of that paragraph,

the Court agrees that the affidavit does not specify whether the person observed on February 8,

2008, was Remond Gordon, Orlando Gordon, or another person named Gordon. But that does not

alter the Court’s ultimate conclusion. Regardless of which Gordon the affidavit was referencing,

the fact that an individual was observed nervously transferring a duffel bag into the premises in

question, when taken together with the other facts contained in the affidavit, supports probable cause

that the residence may be a stash house.

       Finally, with regard to the last issue discussed in Gordon’s motion for reconsideration (i.e.,

whether the officers who executed the search warrant failed to leave a copy of the return at the scene

of the search and never filed a copy of the tabulation with the Third Circuit), the Court, once again,

points out, as it has done in two prior orders [Docket No. 287; Docket No. 290, at 18–19.], that

Gordon never raised this argument in his motion to suppress. Instead, Gordon raised this argument

in his reply brief to the Government’s response to Gordon’s motion to suppress.

       In order to grant a motion for reconsideration, the movant must demonstrate a palpable defect


                                                  2
Case 2:11-cr-20752-SFC-RSW ECF No. 323, PageID.1583 Filed 03/06/13 Page 3 of 3




by which the court has been misled and must also show that correcting the defect will result in a

different disposition of the case. Gordon has not met that burden here. This Court is not convinced

by the case law that Gordon cites and the arguments that he presents in his motion for

reconsideration that its decision was made in error.

       Accordingly, IT IS ORDERED that Gordon’s motion for reconsideration [Docket No. 304]

is DENIED.

       IT IS SO ORDERED.

                                                       S/Sean F. Cox
                                                       Sean F. Cox
                                                       United States District Judge

Dated: March 6, 2013

I hereby certify that a copy of the foregoing document was served upon counsel of record on March
6, 2013, by electronic and/or ordinary mail.

                              S/Jennifer McCoy
                              Case Manager




                                                 3
